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EXHIBIT 10
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EJ8

Case Summary

Case No. 2018CV302813

JANET HILLVS.AMERICA'S § Location
WHOLESALE LENDER § EJ8
§ Judicial Officer
§ COX, THOMAS A., Jr.
§ Filed on
§ 03/23/2018

 

Case Information

 

Case Type: QUIET TITLE

Case Status: 07/02/2019 Closed

Statistical Closures
09/28/2018 Do Not Report
07/02/2019 Judgment on Pleading

 

Party Information

 

Lead Attorneys
PLAINTIFF HILL, JANET Pro Se

DEFENDANT AMERICA'S WHOLESALE LENDER ROGERS, PAULA.
Retained

 

Events and Orders of the Court

 

12/10/2020 COURT OF APPEALS REMITTITUR AFFIRMED
11/18/2019 COURT OF APPEALS NOTICE OF DOCKETING

11/14/2019 RECORD TRANSMITTED TO COURT OF APPEALS
Party: PLAINTIFF HILL, JANET

https://publicrecordsaccess. fultoncountyga.gov/app/RegisterOfActions/#/431F 1F9981E829A4E33935F 1 6DAF2DD9420F 96081 9F C8FOBSA48B5D2C...

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09/04/2019
08/13/2019

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08/12/2019

07/22/2019

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04/09/2019

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Party: PLAINTIFF HILL, JANET

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MOTION

AFFIDAVIT

AMENDED NOTICE OF APPEAL

AFFIDAVIT

RETURN RECEIPT OF CERT MAIL

AMENDED NOTICE OF APPEAL LETTER

RETURN RECEIPT OF CERT MAIL

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AMENDED NOTICE OF APPEAL LETTER

NOTICE OF APPEAL

FINAL ORDER (Judicial Officer: COX, THOMAS A., Jr.)

ORDER

ANSWER

ANSWER
AFFIDAVIT

NOTICE

MOTION TO STRIKE

ANSWER

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CERTIFICATE OF SERVICE

MOTION

CERTIFICATE OF SERVICE

MEMORANDUM OF LAW

CERTIFICATE OF SERVICE

OTHER

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REMOVAL TO ANOTHER COURT (Judicial Officer: COX, THOMAS A., Jr.)

NOTICE OF REMOVAL TO DISTRICT COURT

MOTION TO CONSOLIDATE

SHERIFF'S ENTRY OF SERVICE

MOTION

ORDER

SUMMONS

AMENDED COMPLAINT

DEFAULT (1:30PM) (Judicial Officer: COX, THOMAS A., Jr.)

NOTICE OF LIS PENDENS

NOTICE OF HEARING

AFFIDAVIT

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8/30/2021

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05/22/2018 NO SERVICE/DEFAULT/DISMISSED SETTLED CALENDAR (11:00 AM)

05/16/2018

05/10/2018

03/23/2018

03/23/2018

03/23/2018

(Judicial Officer: COX, THOMAS A., Jr.)

NOTICE OF FILING

NOTICE OF HEARING

CASE INITIATION FORM

PLAINTIFF'S ORIGINAL PETITION

SUMMONS

 

Financial Information

 

DEFENDANT AMERICA'S WHOLESALE LENDER
Total Financial Assessment

Total Payments and Credits

Balance Due as of 8/30/2021

PLAINTIFF HILL, JANET
Total Financial Assessment

Total Payments and Credits
Balance Due as of 8/30/2021

1.00
1.00
0.00

569.50
569.50
0.00

https://publicrecordsaccess.fultoncountyga.gov/app/RegisterOfActions/#/431F 1F9981E829A4E33935F 1 6DAF2DD9420F960819F C8FOBSA48B5D2C...

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Fulton County Superior Court
““EFILED*"DC

Date: 7/26/2018 4:23 PM
Cathelene Robinson, Clerk

SUPERIOR COURT FULTON COUNTY

STATE OF GEORGIA
JANET HILL
Plaintiff,
Vv. Civil Action File Number:
2018CV302813

AMERICA’S WHOLESALE LENDER,

ALL PERSONS KNOWN OR
UNKNOWN WHO CLAIM OR
MIGHT CLAIM ADVERSELY
TO PLAINTIFF’S TITLE TO
REAL PROPERTY KNOWN AS
534 Auburn Avenue,

FULTON COUNTY, GEORGIA
Defendants.

AMENDED
VERIFIED COMPLAINT.

pursuantto O.C.G.A. 9-10-111
and O.C.G.A. 9-11-15

AMENDED PETITION TO ESTABLISH TITLE AGAINST ALL THE

WORLD

COMES NOW, JANET HILL, hereinafter “Plaintiff” in the above-styled action,
and, pursuant to O.C.G.A. § 23-3-60, 61, et. seq., files this Petition to Establish
Title Against All the World and shows the Court as follows:

 

 

 
‘ <—_?

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Affidavit

I, Janet Hill, of age and competent to testify, states as follows based on my
own personal knowledge:

A) I am not in receipt of any document which verifies that I have a valid contract
with America’s Wholesale Lender.

B) I am not in receipt of any document which verifies that I owe America’s
Wholesale Lender any money.

C) I am not in receipt of any document which verifies that America’s Wholesale
Lender is a lender in the State of Georgia.

E) am not in receipt of any document that indicates America’s Wholesale Lender
is a corporation, registered to do business in the state of Georgia or the state of
New York.

F) I am not in receipt ofany documents that indicates America’s Wholesale Lender

is alender, licensed to lend money in the state of Georgia and/or the state of New
York.

D) As aresult, I have been damaged financially, socially, physically and
emotionally.

STATE OF INDIVIDUAL ACKNOWLEDGMENT
STATE OF: Georgia
COUNTY OF: Fulton

Before me, the undersigned, a Notary Public in and for said County and State on
this 26" day of July, 2018, personally appeared to me known to be the

 

 
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identical person who executed the within and foregoing instrument and
acknowledged to me that he executed the same as his free and voluntary act.
Given under my hand and seal the day and year last below written.

My commission expires as indicated below.

It is the understanding of the Plaintiff that Fulton County Superior Court has a
lesser standard than Federal Court in determining if claims are stated where
Federal Courts identify claims of merit and therefore Plaintiff is entitled to the
general pleading standards as pronounced in Conley v. Gibson 355 US. 41, 45-46
(1957) and also Dioguardiv. Durning, 139 F 2d 774 (CA2 1944).

1. Plaintiff relies on Conley v Gibson and also
Dioguardi v Durning as related to the general pleadings standard.

2. Plaintiff resides at 534 Aubum Avenue, Atlanta, Georgia
30312. The Superior Court of Fulton County has in rem jurisdiction
over this matter pursuant to O.C.G.A. § 23-3-61. Further, venue is
proper in Fulton County since it is the county in which the property at
issue is situated O.C.G.A. § 23-3-62(a).

3. The land to which Plaintiff seeks to establish clear title is
commonly known as 543 Auburn Avenue, Atlanta, Georgia, 30312,
according to the present system of numbering houses in Fulton

 

 

 

 

 
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County, Georgia, and is more particularly described as:

 

ALL THAT TRACT or parcel of Sand lying and being in Lars) Lot 46 of tha t4™
Datrict of Futon Gounty, Cay of Atantr, Georgia, and being more parucuiarly
Gpecrbect as follews:

BEGINNING af 0 pain located at the Inlersection of the southerty side of the right
of way of Auburn Avenue (55-fool right of way) and the eestety side of the right
oll way of Hownll Stroat (30- foot nght of wary], thence running along the coutherly
aide of sai Arburn Avenues North 66 degmes 34 menutoy O7 seconds Emmet 6
distance of 46 00 fret to 44 inch mbar found, then inaving the southerly side of
tha righ! of way of Auburn Avenue and running South 00 degrems 00 minut 00
gaconds Eas! a distance of 111.50 feel to a point thence running South 86 .
degrees $4 :nuies 08 paconds Wael a detanes of 40.50 feat to.an Minch OT
found on the easterly side of the nght of way of said Mowall Street, Grence
running along ve oastery cide of the ight of way af said Howell Street Noth 61"
degrees 22 minutes 42 seconds West a distance of 94 50 ven lo the PONT OF
BEGINNINKS

 

 

 

A true and correct copy is attached hereto as Exhibit “A”.

4. Plaintiffs’ title to the property to the above described
property, who acquired title to and took possession of the property
under that certain Warranty Deed dated on or about, October 6,
1999.

Fulton County records, a true and correct copy of which is
attached hereto as Exhibit “A”.

5. This deed is in accordance with the records of the County Tax
Assessor. The records of the Tax Assessor state that the property is
approximately 0.1007 acre(s).

6. A copy of the plat of survey of the parcel of land that is subject
ofthis proceeding. Exhibit “B”

7. Plaintiff signed under duress and without legal authority or
disclosure by defendant what was misrepresented as a Security Deed
to American Wholesale Lender. Exhibit “C”

Claims Against erica’s Wholesale Lender (““AWL”):

1. Misrepresentation as to licensing with the NMLS and state financing laws.
2. Private cause of action against unlicensed members under
a. O.C.G.A. § 7-1-1000 in Georgia.

 
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3. Violation of NMLS for not being incorporated (non-existent entity). Exhibit
D

4. O.C.G.A. §14-2-204 makes AWL was not incorporated and AWL created
liabilities while so acting.

Regulations:

1. GRMA
2. National Mortgage Licensing System, (“NMLS”).
a. Georgia is bound by this regulation for things such as
i. Licensing,
ii. Bonds for lenders and servicers

Causes of Action

1. First Cause of Action: Fraudulent Loan Origination by AWL, violations
by unlicensed lender noncompliance under the banking and other
corporate statutes

a. Action brought for cancelation of the mortgage and other related
instruments.

b. Fraudulent inducement under the GRMA or the MMLL to protect
Plaintiff from lending frauds by unlicensed and unregistered entities.

c. Plaintiff was reliant on the good faith and fair dealings required under
GRMA and by contract statutes.

d. The fact that multiple documents fraudulent documents were
presented naming AWL, shows intent and a pattern of practice to
misrepresent consumers, which was somewhat widespread and
contemplated.

2. Second Cause of Action: Misrepresentations and Mischiefunder
Banking Laws Voids the Contract Mortgagors are not Liable for the
Debt

a. Failure to duly be licensed.

b. Misrepresentations were made by AWL implying that it was at all
times a bon fide Lender in contravention to Georgia OCGA7-1-1000
application for a mortgage loan or a mortgagor.

 

 
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c. Induced Plaintiff to sign a false document, security deed without
meeting the GRMA licensing requirements in contravention to OCGA
7-1-1000.

d. Induced Plaintiff to be serviced and to make payments under false
terms.

e. Failure to provide a bond for the guarantee against malfeasance in
contravention to O.C.G.A. §7-1-1003.2

f. Filing or cause to file a falsified Security Deed in Fulton County,
Georgia in contravention to O.C.G.A. §16-8-102 (5).

g. AWL had no exceptions from the requirement to be licensed under
Georgia Residential Mortgage Act of 2006, O.C.G.A §7-1-1000 (15).

h. Breached all terms under said agreement and was not done by fair
dealings OCGA §7-1-1013(6).

i. AWL engaged in fraudulent underwriting practices OCGA §7-1-
1013(7).

3. Third Cause of Action: AWL Liabilities under OCGA §14-2-204
a. “All persons purporting to act as or on behalf ofa corporation,
knowing there was no incorporation under this chapter is jointly and
severally liable for all liabilities created while so acting.”
i. AWL was non existent and unlicensed under the GRMA,
MMLL and the NMLS.
ii Plaintiff allege and seek for this Court to apply the meaning of
“all persons”, to mean in the instant case, namely AWL.
iii. Plamtiff question about Defendant legal duties

4. Fourth Cause of Action: Declaratory Judgment on Fraudulent Transfer
of Assets ofa Non-Existent Corporation is void or in the alternative, as
a matter of law
a. Under Georgia law, any transaction where the corporation does not
have a license is illegal. That means that it is deemed to be
unenforceable given to an illegal and unconscionable transaction
without legal authority.
b. Plaintiff seeks an affirmative determination that AWL transferred its
purported interests in Security Deed by assignments were acquired by
fraud.

5, Fifth Cause of Action: Request to Void Mortgage Contract and Other
Instruments for Violation of Public Policies

 

 
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a. Plaintiffs seek the cancelation and voiding the Security Deed and
assignment in accordance with:

i. OCGA 13-8-2 (a) A contract which is against the policy of the
law cannot be enforced. Contracts deemed contrary to public
policy include but are not limited to... (b) A covenant, promise,
agreement, or understanding in or in connection with or
collateral to a contract... bodily injury to persons or damage to
property caused by or resulting from the sole negligence ofthe
promise, his agents or employees, or indemnities is against
public policy and is void and unenforceable.

b. Seeks cancelation of deeds along with assignments.

c. Plaintiff seeks to enjoin any Law Firms, trustees, agents, from
attempting to enforce the fraudulent instruments for all purposes to
bill, collect, publish and threaten to foreclose on the subject
properties.

6. Sixth Cause of Action: Slander of Title

a. Plaintiff seeks damages for information supplied by the purported
Loan Servicers to the Credit Reporting Agencies as a tort under
Georgia’s law to be included under “invasion of privacy by publicity
which placed Plaintiff in a false light in the public eye.

b. OCGA §51-9-11: “The owner of property may bring an action for
libelous or slanderous words which falsely or maliciously impugn
title if any damage accrues to Phintiff there from.

c. Plaintiff have collectively sustained losses associated from the
ongoing collection activities against their property.

d. Suit against trespassing under OCGA §51-9-4.
e. Plaintiff seek a determination to the right to know the Real Parties of

Interest if any exist in accordance with OCGA 9-11-17 (a).

f. Plaintiff allege duty from the government to protect private property
owners from intruders.
g. Plaintiff seek discovery and declaratory judgment on this matter.

7. BreachofContractand Wrongful Foreclosure: recovery under
wrongful foreclosure for the premature acceleration.
a. Plaintiff contract was breached because it was made by a non-existent
entity, which did not conform to any lending practices.
b. Sent notices throughout 2009 through 2016 about Defendant legal
status, but were never answered. There is a duty to answer under the
mortgagor rights contained in Security Instruments Section(s) 15.

 

 

 

 
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8. Breach of Covenants for Good Faith and Fair Dealings:

a. Actions were not done in strict faimess due to the fraudulent contract
and conveyances.

b. Defendant is liable for inducing Plaintiff to sign secured interests over
to a non-existent entity, which had no license or business location in
the respective state. No license to lend, no registration to do business
and no business location in the respective state.

c. Defendant benefited from advanced payments prior to the discovery
ofthe fraud.

1, WHEREFORE, Plaintiffs pray:

a. That the Court assume in rem jurisdiction against all the world to establish
Plaintiff's title to the land pursuant to O.C.G.A. § 23-3-61;

b. That the Court appoint and refer this matter to a Special Master pursuant
to O.C.G.A. § 23-3-63;

c. That process issue directed to all persons who are entitled to notice and to
all the persons whom this action may concem, including service perfected
by publication, if necessary, pursuant to O.C.G.A. § 23-3-66(b);

d. That the Court appoint a Guardian Ad Litem, pursuant to O.C.G.A. § 23-
3-66(d), in the event it is determined that there are persons under a disability
or minors, or persons not in being, unascertained, or unknown who may
have an adverse interest;

e. That Plaintiff have a trial by jury on all issues so triable,

f. That the Court issue a decree to be recorded in the Office of the Clerk of
Superior Court establishing Plaintiffs” title in the property against all the
world and that all clouds to Plaintiff's title to the property be removed; and
g. That Plaintiffs have such other and further relief as may be equitable and
just under the facts set out herein.

Respectfully submitted, this 26™ day of July, 2018

INS wh

 

 

 
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Janet Hill, pro se

543 Aubum Avenue NE
Atlanta, Georgia 30312
404-861-6036

All Rights Reserved

 

 

 

 
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Fulton County Superior Court
**F FILED***AC

Date: 7/2/2019 1:19 PM
Cathelene Robinson, Clerk

IN THE SUPERIOR COURT OF FULTON COUNTY

STATE OF GEORGIA
JANET HILL, )
)
Plaintiff, )
) CIVIL ACTION FILE NO/
v. ) 2018CV302813
)
AMERICA’S WHOLESALE LENDER, )
et al., )
)
)
Defendant )
)

 

ORDER GRANTING DEFENDANT’S MOTION
TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

This matter is before the Court by Motion to Dismiss of Defendant Countrywide Home
Loans, Inc.’ (“Countrywide” or “Defendant”), seeking dismissal of the “Amended Petition to
Establish Title Against All The World” (“Complaint” or “Compl.”), filed by Plaintiff, Janet Hill,
(“Plaintiff”), pursuant to O.C.G.A. § 9-11-8(a), for failure to provide a short, plain statement of
the claim showing that the Plaintiff is entitled to any relief, and pursuant to O.C.G.A, § 9-11-
12(b)(6) for failure to state a claim upon which relief may be granted.

In deciding the Motion to Dismiss, the Court having considering the reasons for dismissal

outlined in Defendant’s Memorandum in Support of their Motion to Dismiss, filed on April 9,

 

Plaintiff named America’s Wholesale Lender (“AWL”) as a Defendant in the Complaint. As
discussed in more detail infra, Plaintiff's original lender as identified in the security deed is
“America’s Wholesale Lender,” America’s Wholesale Lender is a “doing business as” (i.e.,
“trade” or “assumed’’) name for Countrywide Home Loans, Inc. This Court may take judicial
notice pursuant to O.C.G.A. § 24-2-201(c), that the entity known as America’s Wholesale
Lender is the trade name for Countrywide Home Loans, Inc. See Fraley v. America’s Wholesale
Lender, et al., No. 1:13-CV-03151-HLM (N.D. Ga. Oct. 29, 2013) [Doc. 14, at 10-14]; Bank of
America, N.A. v. Cuneo, 332 Ga, App. 73, 770 §.E.2d 48 (2015).
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2019, Plaintiffs failure to file a response to Defendant’s Motion to Dismiss, and upon the
Court’s consideration of applicable law, dismissal is appropriate. Even with a liberal reading of
Plaintiff's Complaint and taking Plaintiffs’ allegations as true, the Complaint fails to set forth a
claim for relief under any set of provable facts. Moreover, there is no evidence which might be
introduced within the framework of the Complaint that could sustain the relief sought.
Therefore, despite a liberal construction of the Complaint, there is no legal basis for recovery.
The Court finds that Plaintiff fails to state a claim as to all causes of action under this standard.
See, e.g., Mabra v, SF, Inc., 316 Ga. App. 62, 66, 728 S.E.2d 737, 741 (2012); Thompson-El
y. Bank of America, N.A., 327 Ga. App. 309, 759 S.E.2d 49 (2014); Kelley Mfg. Co. v. Martin,
296 Ga. App. 236, 237 (2009); Fink v. Dood, 286 Ga. App. 363, 364-65 (2007); and therefore,

IT IS HEREBY ORDERED and ADJUDGED that Defendant Countrywide Home Loans,
Inc.’s, Motion to Dismiss is GRANTED, and Plaintiff's Complaint is DISMISSED with
prejudice for failure to state a claim upon which relief can be granted. There being no just
reason for delay, JUDGMENT is entered for the Defendant on all claims against them pursuant

to O.C.G.A, § 9-11-54(b).

IT IS SO ORDERED, this 15” day of July, 2019.

Lal}

THE HONORABLE THOMAS A. “6
Judge, Superior Court of Fulton Courfy, nf oe
Atlanta Judicial Circuit

 
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Monday 30th of August 2021

COURT OF APPEALS INFORMATION

Case Number: A20A0781

Style: JANET HILL v. COUNTRY WIDE HOME LOANS, INC,
Status: Remittitur Mailed

Docket/Notice Date: November 18, 2019

Remittitur Date: December 10, 2020

Term: April

Supreme Court Transfer: None

Calendar Date: April 2020

COA Judgment/Ruling AFFIRMED (September 1, 2020)

Opinion/Order Not Published

TRIAL COURT INFORMATION

Case Number: 2018CV302813

Clerk: Superior Court Clerk of Fulton County
Judge: Hon. THOMAS A. COX JR.

County: Fulton

Court: Superior Court

Appealed Order: July 2, 2019

Notice of Appeal: July 19, 2019

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FILINGS, MOTIONS AND COURT ACTIONS

 

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Filing BRIEF OF APPELLANT /NT

Filing Date July 8, 2020

Filing NOTICE OF APPEARANCE

Motion Date September 11, 2020

Motion MFR/NT

Court Action Date September (8, %

Court Action MPR/DENTED

Filing Date September 25, 2020

Filing NOTICE OF INTENT TO GA SUPREME CT
Filing Date October 9, 2020

Filing NOTICE OF FILING CERT TO GA SUPREME CT

COURT INITIATED ACTIONS

Court Action Date June 9, 2020

Court Action Court Initiated Order

Court Action Date December 10, 2020

Court Action NOTICE OF INTENT / ABANDONED
ATTORNEY INFORMATION

Appellant Ms Janet Hill

Appellee Mr. Jarrod Sean Mendel

Appellee Mr. Paul Anthony Rogers

SUPREME COURT INFORMATION
Notice of Intent September 25, 2020
Application Date October 9, 2020
Certiorari Number

Disposition

Disposition Date

Remittitur Date

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